Case 2:97-cr-20237-.]PI\/| Document 178 Filed 09/02/05 Page 1 of 2 Pag_e|D 84

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IN THE UNITED sTATEs DISTRICT coURT \F¢LED ev _Ll£!.“_f.. D.c.
FOR THE wEsTERN DISTRICT oF TENNESSEE
wEsTERN DIvIsIoN a 95 359 _2 ppg 5: 214

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UNITED sTATES oF AMERICA,

Nos. 97-20234 Ml
97-20235 Ml
97-20236 Mlv/
97-20237 Mi
97-20233 Ml
97-20239 Ml
97-20240 Ml
97-20441 Ml

Plaintiff,
V.
EDDIE D. JETER,

Defendant.

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ORDER GRANTING EXTENSION OF TIME TO SURRENDER

 

Before the Court is the Defendant's motion to continue his
surrender date (Defendant's current surrender date is September
6, 2005), filed September 2, 2005. The Defendant requests an
additional thirty (30) days in order to continue his recovery
from a recent heart catherization and to determine if additional

heart surgery and possible eye surgery will be necessary.
The Defendant's motion is hereby GRANTED.

IT IS SO ORDERED THIS 52 DAY OF September, 2005.

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J P. MCCALLA
ITED STATES DISTRICT JUDGE

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UNITED sTATEs DISTRICT COURT - WESETR DI's'TRICT oF ENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 178 in
case 2:97-CR-20237 Was distributed by faX, mail, or direct printing on
September 6, 2005 to the parties listed.

 

 

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Honorable .1 on McCalla
US DISTRICT COURT

